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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

                                               )
                                               )
 VIAMEDIA, INC.,
                                               )
          Plaintiff,                           )     No. 16 C 5486
                                               )
 v.                                            )     Honorable Amy J. St. Eve
                                               )
 COMCAST CORPORATION and                       )
 COMCAST SPOTLIGHT, LP,                        )
                                               )
          Defendants.                          )
                                               )

                        MOTION TO FILE
 MOTION TO COMPEL, DECLARATION IN SUPPORT OF MOTION TO COMPEL,
    AND MEMORANDUM OF LAW IN SUPPORT OF MOTION TO COMPEL
                         UNDER SEAL

         Pursuant to Federal Rule of Civil Procedure 26(c) and Local Rule 26.2, Defendants

Comcast Corporation and Comcast Cable Communications Management, LLC (successor to

Comcast Spotlight, LP and together with Comcast Corporation, “Comcast”) move to file their

Defendants’ Motion to Compel Plaintiff to Produce Documents (“Motion to Compel”),

Declaration in Support of Defendants’ Motion to Compel Plaintiff to Produce Documents

(“Declaration”), and Memorandum of Law in Support of Defendants’ Motion to Compel Plaintiff

to Produce Documents (“Memorandum”), and certain exhibits submitted with the Motion to

Compel, Declaration, and Memorandum, under seal. In support thereof, Comcast states as follows:

         1.      Today, May 12, 2017, Comcast filed its Motion to Compel, Declaration, and

Memorandum. The Motion to Compel, Declaration, and Memorandum reference and attach

certain documents the parties have designated Confidential or Highly Confidential under the

Court’s Agreed Confidentiality Order. Accordingly, and pursuant to Local Rule 26.2(c), Comcast



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has (1) provisionally filed under seal the Motion to Compel, Declaration, and Memorandum and

the exhibits to both that it seeks to maintain under seal; and (2) filed a redacted version of the

Motion to Compel, Declaration, and Memorandum in the public record that excludes the

information and documents that Comcast seeks, by this motion, to maintain under seal.

       2.      The Seventh Circuit has recognized a Court may shield certain filings from public

inspection if “there is good cause for sealing a part or the whole of the record.” Citizens First Nat.

Bank of Princeton v. Cincinnati Ins. Co., 178 F.3d 943, 945 (7th Cir. 1999); see also Local Rule

26.2(b) (applying “good cause” standard). Under that test, the Court may seal certain filings if

there are “legitimate concerns of confidentiality,” Grove Fresh Dist., Inc. v. Everfresh Juice Co.,

24 F.3d 893, 898 (7th Cir. 1994), such as where the information in question “meet[s] the definition

of trade secrets or other categories of bona fide long-term confidentiality.” Baxter Intern., Inc. v.

Abbott Laboratories, 297 F.3d 544, 545 (7th Cir. 2002).

       3.      Here, the documents and information Comcast seeks to file under seal have been

designated Confidential or Highly Confidential under the Court’s Agreed Confidentiality Order.

ECF No. 44 ¶ 3(c). As this Court recognized in granting past motions to seal, see, e.g., Dkt. 92

(granting Viamedia’s Motion to Seal), Dkt. 98 (granting Comcast’s Motion to Seal), such a

designation gives good cause to file such documents or information under seal.

       WHEREFORE, Comcast respectfully requests the Court enter an order granting Comcast

leave to file the Motion to Compel, Declaration, and Memorandum, and certain exhibits to that

Motion to Compel, Declaration, and Memorandum, under seal.




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Dated:   May 12, 2017                Respectfully submitted,


                                     COMCAST CORPORATION AND
                                     COMCAST CABLE COMMUNICATIONS
                                     MANAGEMENT, LLC

                                     /s/ Ross Bricker
                                     Ross B. Bricker
                                     Sally K. Sears Coder
                                     JENNER & BLOCK LLP
                                     353 N. Clark Street
                                     Chicago, IL 60654-3456
                                     Tel: (312) 222-9350
                                     Fax: (312) 527-0484
                                     rbricker@jenner.com
                                     ssearscoder@jenner.com

                                     Arthur J. Burke (pro hac vice)
                                     David B. Toscano (pro hac vice)
                                     DAVIS POLK & WARDWELL LLP
                                     450 Lexington Avenue
                                     New York, New York 10017
                                     Tel: (212) 450-4000
                                     Fax: (212) 701-5800
                                     Arthur.Burke@davispolk.com
                                     David.Toscano@davispolk.com

                                     Attorneys for Defendants Comcast
                                     Corporation and Comcast Cable
                                     Communications Management, LLC




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